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   FIN A N CE B.V .foran orderto conduct
   discovery foruse in a foreign proceeding.
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         A PPLICA TIO N FO R D ISC O V ER Y IN A lD O F A FO R EIG N PR O CEED IN G
     PURSUANT TO 28 U.S.C.k 1782 AND INCORPOM TED M EM ORAND UM OF LAW



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    G IBSON ,D U'
                N N & CR UTCH ER LLP            RIV ER O M ESTRE LLP
    Of CounselforDavidv4.Godh'ey and J'z//coA' Attorneysfor David ,1. Godpey and l'è//
                                                                                     ct?5'
    Finance B.Pè                                Finance B.lr
    200 Park Avenue                             2525 Ponce de Leon Boulevard,Suite 1000
    N ew York,N ew Y ork,10166                  M iam i,Florida 33134
    Telephone:(212)351-3917                     Telephone:(305)445-2500
    Fax:(212)351-5246                           Fax:(305)445-2505
    Email:rserio@gibsondunn.com                 Email:jmestre@ riveromestre.com
                                                Email:kblanson@ riveromestre.com

    Rober'tF.Serio                              Jorge A .M estre
    pro hac vice motion pending                 Florida BarN o.088145
                                                Kadian Blanson
                                                Florida BarNo.098880
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       Fol-warding (USA),lnc.,

   InreExParteApplicationofGlob.Ener HorizonsCorp.,
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    Statutes



    R ules
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                                      1. INTR O D UCT IO N
            David A.GodfreyandYukosf-inalnceB.V.(tûYtlkosFinance'')(together,t14etûpetitioners'')
   respectfully submitthis emergency ex y'i/r/c application (the ûûApplication'D),along with the
   DeclarationofRobertF.Serio(ûtserioDec1.'')andDeclarationofBernardO'Sullivan(ûto'sullivan
   DecI.'7),and allexhibits affixed thereto,foran orderto conductdiscovery in aid offoreign
   litigation,pursuantto28U.S.C.j1782 (ûûsection 178259)andFed.R.Civ.P.45.Petitionersseek
   thedepositionofandlimiteddocumentdiscoveryfrom respondentStephenLynch(ûiltespondent'')
   foruse in YukosFinanceB.J'
                            r etal.v.Lynch etal.,CL-20l5-000829,an action pending before the
   High CourtofJustice,Queen'sBench Division,CommercialCourt,in Londen,England (the
   téEnglishProceedings''). SeeSerio Decl.Exs.8-9.Respondentisanindividualwhomaintainsa
   residence in this District and has key personalknow ledge of the circum stances underlying the
   dispute at issue in the English Proceedings. Petitioners m ove ex parte in order to prevent
   R espondentfrom evading service of Petitioners' subpoena and because ex parte proceedings are
   specifically authorized and routinely perm itted under Section 1782. See ln re fnagtz,272.F.R.D .
   621,625 (S.D.Fla.2011)(kûgs/ljostj 1782 applications...are filed and decided ex parte.D'l.
   Petitioners tiled this em ergency application because,on inform ation and belief,Respondentw ill
   be presentathisresidence in the D istrictonly through M ay 3,2017,afterw hich hew illbe traveling
   internationally fora prolonged period.l
          Russian entity OAO NK YukosOilCompany (ûûYukos Oil'')wasexpropriated by the
   R ussian Federation in a series of rigged auctions designed to hand Russian-state owned entities
    over$1billion in YukosOil'sassets.A group ofinvestorsincludingM onte-valle(arealestate
    agency founded and m anaged by RespondentStephen Lynch),VR Capital Group Ltd.,HBK
    CapitalManagement,andRenaissanceCapital(collectively,theû'Consortium''),participatedinthe
   rigged auction forthepurchase ofY ukosO ilassets sold in tûl-ot19D'in Russia on August15,2007.
   See Serio Decl.Exs.3-5. Am ong the assets purportedly acquired by the Consortium was Yukos
    Finance,a D utch subsidiary of Y ukos O il. The Lot 19 bankruptcy liqtlidator,Eduard Rebgun.
    penuitted only pre-approved bidders to participate in the Yukos Finance auclion, leading the



       Petitioners are prepared to stipulate to a reasonable briefsng schedtlle should Respondentchoose to
       lnovetoquashthisApplication.Petitionersarealsow illing to collductRespondellt-sdeposition outside
       thisDistrict,shotlld anotherlocation prove more convenielltforRespondent.
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   Consortium,through itsmem berM onte-valle,to acquireOOO Prom neftstroy ('-promneftstroy''),
   one sueh approved bidder,from theRtlssian state-owned RosneftOilCompany (kûRosneftD'). See
   Serio D ecl. Exs. 3-5. W ith the know ledge they w ould em erge victorious from the auction,
   Prom neftstroy and Rosneft divvied up the Lot 19 assets prior to the auction. Prom neftstroy
   ultim ately won the auction,purchasing Y ukos Oil's assets forfarbelow the fairm arketvalue.?
           Shortly thereafler,Petitionersand theiraftiliates tiled suitin the N etherlands,the hom e of
   YukosFinance,disclaim ing therigged auction ofLot19 and asserting theirrightfulownership of
   YukosFinance(theûtllutchProceedings'').SerioDecl.!8.Thelaststageofthatlitigation,called
   Godh'ey v.OOO Promneftstroy,iscurrently pending before the Amsterdam CourtofAppeal.
   SpeciticallyatissueintheDutchProceedingsis(i)whethertheactionstakenbyliquidatorEduard
   Rebgun,including his collusion w ith Prom neftstroy and R osneftin rigging the auction,lack legal
   effectin theNetherlands;and (ii)whetherrecognitionofPromneftstroy'sclaim tothesharesin
   YukosFinance contravenesDutch public order. 1d. On D ecem ber 17,20l5,thisCourtentered an
   ordergranting a Section 1782 petition thatallowed Petitionersto seek the sam e lim ited discovery
   sought here from Respondent Stephen Lynch in connection with the Dutch Proceedings. See
   Order,lnreExParteApplicationofGodh'ey,No.15-24604,(S.D.Fla.Dec.17,2015)(ù'ExParle
   Gt?##cy'')(grantingapplicationtoservesubpoenason Stephen Lynch andcompelhim to appear
   fordepositionl;SerioDecl.Ex.10.However,duetoRespondent'sevasionofservice.Petitioners
   w ere unable to obtain the discovery thatthis Courtordered.
           The English Proceedings involve the sam e underlying allegations and core setof facts as
    the Dutch Proceedings. ln the English Proceedings,Petitionersand otherclaimants(together,
    lûclaimants'')allegethatthedefendants,al1membersoftheConsortium,causedthem harm by
    wrongfully causing or facilitating the participation of Prom neftstroy in the auction of shares in
    Yukos Finance on A ugust 15,2007,know ing and intending thatithad been pre-determ ined that
    such auction w ould purportedly be won by Prom neftstroy ata pre-agreed price. Claim ants seek
    the costsand expensesthatthey haveincun-ed asaresultof(i)investigating thecircumstances
    surroundingthe2007sham auctionofLot19and(ii)protectingtheirrights,includingbybringing
    and defending the Dutch Proceedingsw ith respectto the ow nership and controlofYtlkos Finance
    andrelatedcompanies.O'SullivanDecl.!!3-4,12.

     2 Aside frol'
                 n Pronlneftstroy,the only otherbidderwasanobscureshellcom pally w ith l1okllovvl)business
       operationsthathad bid and lostseveralotherbankruptcy auctions.
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          A s generaldirector of Prom nettstl'
                                             oy, Respondent Lynch participated in the 2007 sham
   atlction through which Prom neftstroy,witllthe supportofand due to the involvem entofRosneft.
   purported to acquire the shares of Yukos Finance. A s such, Respondent has critical personal
   know ledge about the Y ukos Finance auction and how it w as predeterm ined to be w on by
   Prom neftstroy ata pre-agreed price,Prom lèeftstroy's ow nership claim sin Y ukos Finance,and the
   roles ofotherpartiesw ho colluded w ith Prom neftstroy to rig the auction ofLot 19,allofwhich is
   highlyrelevanttothedisputeattheheartoftheEnglishProceedings.SeeO'SullivanDecl.!!13-
    15.
          Section 1782 enablesforeign litigantsto obtain evidence from personslocated in the United
   Statesinaidofaforeignproceeding.ThisApplication seekslimiteddiscoveryintheform of:(i)
   a deposition ofStephen Lynch,aresidentofthisDistrict'
                                                       ,and (ii)narrowly tailored document
   discovery. The requirem ents forissuance ofa Section 1782 subpoena are m inim aland are m etby
   thisA pplication. See,e.g.,IntelCorp.v.Advanced M icro D evices,lnc.,542 U .S.24l,249,264-
   65(2004).W here,ashere,theinformationsoughtisrelevant,itisûtpresumptivelydiscoverable''
   underSection 1782. InreBayerAG,146F.3d 188,196(3d Cir.1998),    .seetz/-
                                                                          stpIn re tr/zèzw-tpz?
   Corp.,2012W L 3636925,at*7(S.D.Fla.June12,2012)(tûlnfact,thecoul'tneednot,norshould
   it,determ ine whetherthe discovery would actually or even probably,be adm issible in the foreign
   proceedings.'').PetitionersthusrespectfullyrequestthatthisCourtgranttheirApplication.

                                  Il. RE LEV A NT FA C TS
   A.     Stephen Lynch

           RespondentStephen Lynch is an individualfound w ithin the Southern DistrictofFlorida.
   SeeEx ParteGodjbey,No.15-24604,at2(tûRespondentglwynchlresidesormaybefound inthe
   Southern DistrictofFlorida.D'l;Serio Decl.Ex.l0,Order.RespondentLynch currently maintains
    a residence in M iam i-Dade County ata property he purchased in 2014. See Serio D ecl.Ex.6.
    Respondentisthe founderand m anagerofthe realestate firm M onte-v alle. Serio D ecl.Exs.3-5.
    Respondentis also the generaldirectorofProm neftstroy,w hich w asacquired by M onte-v alle on
    behalfofthe Consortium and w asthe purported winnerofthe Y tlkos Oi1assets sold in the rigged
    auction of Lot19 on A ugust15,2007,including YukosFinance,a Dutch stlbsidiary.
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   B.     The R ussian G overnm ent'sC am paign A gainstY ukos O il
          Yukos Oilw asRussia'slargestcrude oi1producerand exporteruntillate2003.A long w ith
   itssubsidiaries,YukosO ilproduced slightly lessthan 20% ofthetotalcrude oi1produced in Russia
   and retined and m arketed slightly lessthan 20% ofthe retined productsin R tlssia. Y ukosO ilwas
   generally regarded as Russia's m ost progressives transparent, and successful m ultinational
   com pany. A s a result,it attracted a considerable am ount of foreign investm ent rrom around the
   world.lnApril2004,YukosOil'smarketcapitalization (onRussia'sruble-denolninatedM ICEX
   exchange)wasover$40billion.
          TheRussian governmentbegan itsattack on YukosOi1in October2003 when,in a move
   thathasbeenwidelycondemnedaspoliticallymotivated,theRussiangovernmentjailed M ikhail
   Khodorkovsky,YukosOil'sChiefExecutiveOfficerand largestindirectshareholder.SerioDecl.
   Ex.7. The Russian governm ent's m anufactured charges included, am ong others, alleged tax
   liabilities related to Yukos O il. 1d. Since thattim e,the Russian govelmm enthasengaged in the
   ongoing persecution of num erous Yukos Oil officials and founders, and has effectively
   nationalized Yukos Oi1by im properly assessing back taxes,im properly preventing Y ukos Oil's
   voluntary paym entofthose alleged taxes,and forcing the sale ofthe com pany's assetsatauction
    and then acquiring those assets,largely through state-ow ned vehiclesincluding Rosneft.
           The actions of the Russian governm ent have been w idely condem ned by num erous
    international observers, including the U nited States Departm ent of State, the Parliam entary
    A ssem bly ofthe CouncilofEurope,the Councilon Foreign R elations,thelndependentTask Force
    on U .S.Policy tow ard R ussia,and observers both inside and outside Russia. lndeed,on July 18,
    2014,a highly distinguished arbitraltribunalsitting in The Hague under the auspices of the
    PermanentCoul'tofArbitration(PCA),heldunanimouslythattheRussianFederationbreachedits
    intelmationalobligationsunderthe Energy CharterTreaty (ECT)by destroying YukosOiland
    appropriating itsassets,and asaresultm ustpay m ore than $50 billion to the shareholdersofthe
    form er Yukos Oil. 1d. The tribunal found, am ong other things, that ûûthe auction of
    Yuganskneftegaz,''Y ukos Oil'sprim ary oilproduction subsidiary,w asûûrigged''and am otlnted to
    tta deviotls and calculated expropriation''by the Russian Federation. 11?///t?y'Enlel'. Ltd.v. The
    #è/-
       ç5'/(?#?Fed'
                  n,PCA CaseNo.AA 226,FinalAward,at26,324,340(Jtlly l8,2(p14),available://
    lattpr//w vw .italaw .cona/sites/defatllt/ûles/t
                                                   aase-docum ents/italaw3z78.pdf The tribunal further
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   found thatthe bankruptcy proceedingsin w hich Y ukosO il'srem aining assetswereatletioned were
                                            v by the R ussian Federation.'' 1d.at376.
   ttthe finalactofdestruction ofthe com pana
                                            .


          A s a resultofthe Russian Federation'sunlawfuland contiscatory actionsdiscussed above-
   Russian state-ow ned energy com panies eventually acquired nearly al1 of Yukos O il's assets
   through a series of sham auctions. Edllard Rebgun, Y ukos O il's liquidator in the Rtlssian
   bankruptcy proceedings,m anaged each ofthese sham auctions. Serio Decl.Ex.7.

   C.      A uction ofY ukos Finance'sA ssets
           Yukos Finance w as a D utch subsidiary of Y ukos O i1. Eduard Rebgun, in his role as
   liquidator in the Yukos O i1 barlkruptcy,scheduled a sham auction of Yukos Finance shares on
   A ugust 15,2007 in M oscow . Id Rosneft,the Russian state-ow ned oilcom pany thatacquired the
   majorityofYukosOil'sassets,colludedwithRebgunandotherstoensurethatthettwinner''ofthe
   auction wasaproxyforRosneftand thatthettwinning''bidwaspre-determined..JJ.ln connection
   w ith this fraud,Rosneftreached outto Stephen Lynch,who had previously successfully bid on
   other Y ukos assets through his com pany M onte-v alle. Lynch assem bled the Consortium to
    support a bid. Through M onte-v alle,the Consortium obtained Prom neftstroy, a pre-approved
   bidder,from Rosneft. Prom neftstroy bid on and won the tûauction''of,inter alia,100% of Yukos
    Finance'sissued and outstanding sharesforapproximately $310 million,a pre-agreed price that
   w asfarbelow the fairm arketvalue ofthe shares. The only otherbidder,V ersar,w as an obscure
    shellcom pany w ith no know n business operations that bid and lost severalof the bankruptcy
    auctions. The winning bid was lessthan $10 million higherthan the starting bid andrepresented
    less than one-third ofY ukos Finance's actualvalue.

    D.     The English Proceedings and Respondent's A ttem ptsto Evade Service
           The English Proceedings w ere com m enced by Petitionersby w ay ofa Claim Form issued
    on N ovem ber 23,2015,and Particulars of Claim were subsequently filed on February 24,2016.
                                                    A m ended Particulars of Claizn were filed on
    November15,20l6.SeeSerioDecl.Ex.9,
                                     '1d.!8.Asdiscussedabove,Claimantsseekfrom the
    defendants the costs and expenses of the legal proceedings in the Netherlands relating to the
    ownership and control of Y ukos Finance and related com panies as a consequence of the pre-
    determ ination of the auction of the shares in Yukos Finance, the purported transfer
    Prom neftstroy ofYukos O il'sshareholding in Yukos Finance and the purported exercise by oron
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                                                                Claim antsallegethatthe del-
                                                                                           endants
    in the English Proceedings caused them harm by w rongfully causing or faeilitating the
    participation ofProm netïstroy in the auction ofshares in Yukos Finance,knowing and intending
    thatithad been predeterm ined thatsuch auction w ould purportedly be w on by Prom nettstroy ata
    pre-agreed price. /J.
           Respondentis a nam ed defendantin the English Proceedings,buthe has actively avoided
    participation in those proceedings. On M arch 23,20l6,the English courtgranted permission for
    ClaimantstoserveMr.Lynchwithdocumentsfrom theEnglishProceedingsoutofthejurisdiction
    in the U nited States of A m erica and Russia. O n M ay 24,2016,an extension w as granted for
    serviceonM r.Lynch intheUnitedStatesandRussiauntilMay22,2017.1d.! 5.OnJanuary l,
    2017,Respondentwasprovided w ith theA m ended Claim Form and A m ended ParticularsofC laim
    atBeirutA irportin Lebanon while checking in to an A erotlotflightto M oscow . Respondentw as
    w itnessed exam ining the docum entsserved upon him in sufficientdetailto enablehim to establish
    thatthey were courtdocum ents relating to the English Proceedings. However,after initially
    accepting and reviewing the docum ents, Respondent chose to abandon them at the check-in
    counter of the A erotlot tlight and instructed the check-in person to call airport security.
    RespondentdepartedLebanonwithoutthedocuments.1d.!!25-26.
           A ttem pts w ere m ade in M oscow to provide Respondent w ith notice that the events of
    January 1,2017 in Lebanon am ounted to service. W hen approached in M oscow on M arch 9,20l7,
    Respondent three tim es in short succession refused to accept docum ents from the English
    Proceedings. The tirsttim e thatRespondentw as approached in a restaurant in M oscow ,he ran
    awaysoquicklythathischairsuddenlyfelltothegroundashemovedoff.O'SullivanDecl.!27,
    Ex.C. O n M arch 24,2017,the English courtgranted an order holding,am ong other things,that
    personal delivery of the relevant docum ents from the English Proceedings to Respondent
    Lebanonon January 1,2017 constituted goodservice.1d.! l0.OnAprill8,2017,Respondent
    filed papers in the English Proceedings acknow ledging service and indicating thathe w ould be
    representinghimselfandintendedtocontestjurisdiction.Respondenthasnottiladanypleadings
    in the English Proceedings to date. Id
            Respondenthas key personalknow ledge and docum ents relevantto the issue of whether
    the defendantsin the English Proceedingsknew and intended thatthe auction ofYukos Finance
    w as predeterm ined to be w on by Prom neûstroy ata price far below its fair m arketvalue. Other
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    defendants in the English Proceedings haNe denied thatthe auction ofY ukos Finance had a pre-
    determ ined outcom e,and due to Respondent's centralrole with respectto the auction,Claim ants
    believethatRespondenthasuniquepersonalknowledge to rebutthesepleadings.O 'sullivan D ecl.

    !!l13-14.
            Further, Claim ants seek to obtain testim ony and docum ent discovery from Respondent
    concerning his actions related to the acquisition of Prom neftstroy, including afterword in his
    capacity as director of Promneftstroy, and his and his codefkndants' participation in
    knowledgeof:(i)theauction ofYukosFinance'
                                            ,(ii)thetinancingofPromneftstroy'sbidforthe
    YukosFinanceshares;(iii)themanagementofPromneftstroythrough shellcompanies,and(iv)
    due diligence perform ed in connection w ith the Yukos Finance auction. Such discovery w ill
    furtherdem onstrate thatthe auction of Yukos Finance was rigged in a corruptauction process in
    whichthedefendantsintheEnglishProceedingsplayedaninstrumentalrole.O'SullivanDecl.!

          111. SEC TIO N 1782 A UTH O RIZES TH E D ISC O V ER Y PE TITIO N E RS SEEK
    A.      A pplicable L egalPrinciples

            PetitionsfordiscoveryinaidOfatbreignpzoceedingaregovernedby28U.S.C.j1782(a),
    w hich providesthatfederaldistrictcourtsm ay orderdiscovery foruse in a foreign orintenzational
    tribunalfrom persons residing in or found in the district in w hich they sit.3 Slzction 1782 was
    designed ûtto liberalize the assistance given to foreign and internationaltribunals.'' ln rt
                                                                                               d Clerici,
    481F.3d1324,1333(11thCir.2007)(citationomitted).W heretheinformationsoughtisrelevant,
    itistûpresumptivelydiscoverableunderj1782.5'lnreBayer,146F.3dat196.'tconsistentwith
    the statute's modestprima facie elements and Congress's goal of providing equitable and
    efficacious discovery procedures,districtcoul'
                                                 ts should treatrelevantdiscovery m aterials sought
    pursuantto Section 1782 asdiscoverableunlessthe par'
                                                       ty opposing the application can dem onstrate
    factssufficienttojustify thedenialoftheapplication.'' 1d.at195,
                                                                  .seealso &??j/cJKingdom v.

      3 Section l782(a)provides'
                               .TûTlledistrictcourtofthedistrictin which apersonresidesorisfound may
         order him to give 11is testimony or statementorto produce a doctlment or otherthing for use in a
         proceeding inaforeignorinternationaltribunal,...Theorderm ay bemadeptlrsuanttoa Ietterrogatory
         isstled,orrequestm ade,by a foreign orinternationaltribunalortlpon theapplication ofany interested
         person and m ay directthatthe testimony or statem entbe given,or the doctlmentor otherthing be
         prodtlced,... The orderm ay prescribe thepractice and procedtlre,which may be iI1w hole orparttlle
         practice and procedure ofthe foreign country orthe internationaltribtlnal,fortaking the testimony or
         statelnentorprodtlcing the doctllnentorotherthing.''
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    Uniled 5-/t.
               //cx,238 F.3d l3l2,l3l9 (1lth Cir.2001)(--congresshasgiven thedx
                                                                              istrictcourts...
    broaddiscretionin grantingjudicialassistancetoforeigncountries.'').
           ThethresholdstatutoryrequirelnentsofSection 1782(a)are:(1)thepersonts)from whom
    discoveryissoughtmustresideinorbefound inthisdistrict'  ,(2)thediscoverynlustbeforusein
    aproceedinginaforeigntribunal' ,and(3)theapplicantmustbeankkinterestedperson.''Intel-542
    U .S.at249. W hen a11three requirem ents are m et,the decision to grantthe requestrestsw ith the
    districtcourt.1d.at260-61,
                             .Glockv.Glock,In(:.,797F.3d1002,1005(11thCir.20l5)(ttcongress
    hasgranted broad discretion to districtcourtsto grantan application underj 1782.39).
                                                                                       ,United
    Kingdom,238F.3d at1318-19CûW hether,andto whatextent,tohonorarequestforassistance
    pursuanttoj1782hasbeencommittedbyCongresstothesounddiscretionofthedistrictcourt.'').
           ln Intel,the Suprem e Courtfurtherarticulatedthe following factorsthe districtcourtshould
    considerwhendeterminingwhethertograntapetitionpursuanttoSection 1782(a):(i)whetherthe
    person from whom discovery isrequesteclisapartyto the foreignproceeding;(ii)thenatureof
    the foreign tribunal,the character of the foreign proceeding and the tribunal's receptivity to the
    federalcourt's assistance'
                             ,(iii) whether the applicantis attempting to circulnvent discovery
    restrictionsorpoliciesofthe foreign tribunal'
                                                ,and (iv)whetherthe discovery soughtisunduly
    intrusive orburdensom e. Intel,542 U .S.at264-65.
           The discovery that Petitioners seek in the present Applieation satisties each stattltory
    requirem entofSection 1782,and thelnteldiscretionary factorsweigh heavily in Petitioners'favor.
    SeeExParteGodfrey,No.l5-24604(granting applicationtoservesubpoenason StephenLynch
    andtoeompelhim toappearfordepositionl;SerioDecl.Ex.l0.
    B.     The Inform ation Soughtls H ighly R elevantand Presum ptively D iscoverable
           Petitionersseek deposition and docum entdiscovery forusein proceedingsbefore a foreign
    tribunal. The English Proceedings are currently pending in the High CourtofJustice,Queen's
    Bench Division, Com m ercial Court. See Serio D ecl.Exs. 8-9. ln the English Proceedings,
    Petitionersargue,am ong otherthings,thatthe defendantscaused them harm by w rongfully causing
    or facilitating the participation of Prom neftstroy in the auction of shares in Y ukos Finance,
    know ing and intending thatithad been predeterm ined thatsuch auction w ould purportedly be w on
    byPromneftstroyatapre-agreedprice.SeeO'SullivanDecl.! l2.
            Respondenthaskey personalknow ledge relevantto show thatthedefendantsin the English
    Proceedings knew and intended thatthe auction ofY ukos Finance w as predeterm ined to be won

                                                    8
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    by Prom neftstroy at a pre-determ ined price. O ther det-
                                                            endants in the English Proceedings have
    denied tlaat the outcom e of the auction of Yukos Finance w as pre-determ ined- and C laim ants
    believe thatRespondenthas unique personalknow ledge thatis relevantto rebutthese pleadings.
    The discovery sought from Respondent v/ould further dem onstrate that the Lot 19 bankruptcy
    auction w asrigged and carried outthrough acorruptprocessin w hich the delkndantsin theEnglish
    Proceedingsplayedan instrumentalrole.O'sullivanDecl.!! 13-15.4
    C.      Petitioners'R equestM eets the Statutory R equirem ents of Section 1782

                   Stephen Lynch Is Found W ithin This D istrict

            Respondentcurrently m aintains a residence w ithin this Districtin M iam iB each,Florida.
    See Serio Decl.Ex.6. Upon inform ation and belief,Respondentis presently fbund within the
    D istrict. Although Respondent'sbusiness interestsm ay require extensive traveland m aintenance
    of residences in otherparts of the world,itis sufficientfor the purposes ofthis A pplieation that
    Respondentm aintains a residence in M iam i-D ade County. See In re N eves,201l W L 3502770,
    at*2 (S.D.Fla.Aug.8,2011)(witnesssatissed the Fed.R.Civ.P.45 ûûresides''requirement
    because she m aintained a house in M iam i,Florida and was staying atthathouse atthe tim e she
    wasserved with asubpoenal;M inick v.M inick,149 So.483,488(F1a.1933)(recognizing that
    eûdom icile''and ûtresidence''are notsynonym ous asa tûperson m ay have m ore than one residence
    at the same time, but only one domicile''). Indeed,this Court has previously found that
    ûûRespondentgl-ynchlresidesormay be found in the Southel'
                                                            n DistrictofFlorida.'' Ex Parte
    Godfrey,No.l5-24604,at*1' ,SerioDecl.Ex.10.
            2.      The Discovery SoughtIs lntended For Use in a Foreign Proceeding

            The second threshold requirementfor Section 1782 discovery is metbecause Lkgtjhe
    discovery souglatis for use in a proceeding before the H igh Courtof Justice in England,United
    K ingdom ,w hich is undisputedly a proceeding before a foreign or international tribunalunder


      4 A lthotlghthe IoeationofrelevantdoeumentsinM r.Lynch'spossession,custody orcontrolistlnknown,
        documents Iocated abroad are discoverable pursuant to Section I782 in this Distriet. Sergeeva v.
         Trlpleton/??/7Lt(.
                          I.,834 F.3d ll94,l200(l1thCir.20l6)(1LgT)heDistrictCourtcould reqtlirethatgthe
         subpoenatargetlproduceresponsivedocunaentsandinfonmation locatedoutsidetheUnitedStates so
         Iong asritlhad possession,custody.orcontrolofsuch responsive I'naterial-''l;1;lcc Chevron ()
                                                                                                    k?cJ..
         20l2W L 3636925,at*10(S.D.Fla.June 12,20l2)ttlTllisCourtgfoundlno Iinaitation in j 1782that
         prohilits the production ofdoeulllentstlatare located abroad....The stattlte requires ollly thatthe
         partyfrol'
                  nwhol'
                       ndiscoveryissoughtbelocatedinthedistrict:notthatthedoctlmelltsbe.'-).

                                                       9
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    Section l782(a).''ln l.e1-xParlez1/p#/jct///(?z?t?/Glob.Energy Hol'izonsC't?7-
                                                                                 #.,2015 W L l325758,
    at*2 (N.D.Cal.M ar.24,2015)(footnotesand internalquotation marksomitted). Specificallys
    the English Proceedings are before the High Court of Justice, Queen's Bench Division,
    Com m ercialCoul'
                    t,w hich perm itssubm ission ofw itnesstestim ony and docum enLdiscovery atits

    currentstage.
    ($t(T1he High CourtofJustice...hearsthetestimony ofwitnessesand receivesdocumentsin
    evidence,very much asAmerican courtsdo.''). Asany information obtained pursuantto this
    Application is intended to be used in good faith in the English Proceedings, Petitioners'
    ApplieationmeetsSection 17825ssecond statutoryrequirement.SeeO'Sullivan Decl.!24,
                                                                                    .see
    also Ex Parte G odfi
                       -ey,No.15-24604,at*1(holdingsecondprongwassatisfied byPetitioners'
                       .


    intention to use deposition and docum entdiscovery from RespondentLynch in the related D utch
    Proceedingsl;SerioDecl.Ex.10.
                    Each ofthe Petitionersls an Interested Person

            Petitionersmeetthethirdand finaljurisdictionalrequirementofSection 'L782because,as
    parties to the English Proeeedings,Petitioners are unquestionably ûtinterested persongsl.''
    ApplicationofconsorcioEcuatorianodeI-elecomunicacionesS.A.v.JAsForwarding(USA),Inc.,
    747 F.3d 1262,1269 (11th Cir.2014)(ûtAsapartyto the dispute,gthe petitionerlplainly isan
    ûinterested person.''Dl;In rc Application t?/'Guy,2004 W L 1857580,at *2 (tûApplicants,as
    Claimantsin thatproceeding gbefore theEnglish High CourtofJustice),areinterested persons
    withinthemeaningofj1782.75).lndeed,alitigantinaforeignproceedingbefore11foreigntribunal
    tûmaybethemostcommonexampleoftheinterestedpersonts)whomay invokej 1782.9'lntel,
    542 U .S.at256.
    D.     The IntelDiscretionary FactorsW eigh In Favor ofG ranting Petitioners'Application

           Thefourdiscretionary lntelfactorsalso w eigh heavily in favorofgranting thisA pplication
    because R espondenthas actively avoided participation in the English Proceedings,English courts
    routinely accept Section 1782 discovery, the A pplication does not circum venLEnglish law or
    policy,and the A pplication is nottlnduly burdensom e.
                    R espondent H asA ctively A voided Participation in the English Proceedings

            Respondentis a party to the English Proceedings,O'Sullivan Decl.443,butitis not
    necessary thata respondentbe a non-party for a courtto grantdiscovery. See,e..%..ln re C'lel'ici.
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    48lF.3d l324,l334-35 (llth Cir.2007)(tirstlntelfaetorsatislied where respondentwasparty
    becauseheûtleftPanamaandthePanmmanianCourtcannotenforceitsorderagainstrrespondent)
    directly'D).l-lere,Respondentcannotbectlnsidered atrueparticipantin theEnglish Proceedings
    ashe has actively avoided service on m ultiple occasions,has nothired counsel,hasnotflled any
    pleadings,andhasindicatedthathewillcontestjurisdiction.SeeO'SullivanDecl.!! 10,17-28.
    In addition,English courtscannotcom pelnonresidentparties,such as Respondent,to attend coul't
    forthe purpose ofgiving evidence in a commercialdispute. ld ! 20. Thus,whetherdue to
    Respondent's active non-participation in the English proceedings, or the lim iled reach of the
    English courtovernonresidentparties,the English courtm ay notbe able to obtaiù
                                                                                 n key discovery
    from Respondentw ithoutthe assistance ofthe A m erican courts. A ccordingly,the firstIntelprong
    weighs in Petitioners' favor. See lntel,542 U.S.at264 C'l lonparticipants in the foreign
    proceeding may be outside the foreign tribunal'sjurisdictionalreach;hence,their evidence,
    availableintheUnitedStates,maybeunobtainableabsentj17824a)aid.'').5
           2.      T he N ature ofthe Foreign T ribunal,the Character ofthe English Proceeding
                   and the English Court's R eceptivity to A ssistance Favor G ranting the Petition

            The second lntelfactorlooks to the ltreceptivity''ofthe foreign tribunal. Intel,542 U .S.at
    259-60. H ere,even if the discovery that Petitioners seek w ould be unavailable to Petitioners
    withoutthe aid ofan Am erican court,the English courtlikely w ould be receptive to the requested
    discovery.6SeeO'SullivanDecl.!!22-24'  ,lntel,542U.S.241,262(tûrNlondiscoverabilityunder
    English1aw kdoeslnotstandinthewayofalitigantin Englishproceedingsseekingassistancein
    theUnited Statesunderj 1782.55(internalcitationomittedl). ln addition,although Section )782
    doesnotrequirethatapetitionerdem onstrate thattheevidencesoughtwould be admissible in the
    foreign proceedings,the type of evidence soughthere likely w ould be adm issible in the English


      5 Atthe very Ieast,ifthe foreign courtûtdoesnotprovide gpetitionerl with the necessary discovery
        m echanism s...theGrstIntelfactoris neutral.'' SiemensAG v.ll( DigitalCorp.,2013 W L 5947973,
        at*2 (C.D.Cal.Nov.4,2013).
      6 ûtlkeceptivity''is not a question of whetiler the foreign courtwould or cotlld perm itthis particular
        diseovery. The StlprelneCotlrtin lntelexplicitlyfound thatSection 1782(a)doesnotûûcategorically
        bara districtcotlrtfrom ordering production ofdoculuentswhen the foreign tribtlnalorthe ûinterested
        person'would notbeabletoobtainthedocumentsiftheywere Iocatedintheforeigl)jtlrisdiction.''161.
        at259-60,
                'seet:
                     ?/.
                       s.
                        t'
                         ylnrcApplicationt/fA/t:
                                               'x
                                                j'aPokverGrp.,LL(7,878 F.Supp.2d 12t?6,1304(S.D.Fla.
        2012)(noting thatûtthe pal
                                 -ty requesting jtldicialassistance does nothave to prove receptivity''of
        fol-eigntribunal).
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   Proceedingsbecause-'theEnglishActionis.pendingintheLlighCotlrtoflustice,...Lwhichlhears
   tlae testim ony ofw itnesses and receives docum ents in evidence,very m tlch as Am erican courts
   do.'' ln re Application t?/'Guy,2004 W L 1857580,at*2 (allowing Section l782 document
   discovery and depositions in connection with English litigation). Moreover,English courts
    regularly accept Section 1782 evidence regarding issues of liability. See,c.g.,ln rtd Ex Parte
   Application q/-Glob.fbcr.
                           g-
                            vHorizons C)
                                       't?rr.,2015 W L 1325758,at*2 (1û(T1he English Court
    w ould be receptive to the evidence because of how criticalitis to determ ine the extentofG ray's
    breachandresultingdamages.'').
          Tothatend,American tigdlistrictcourtsroutinely allow applicantsto obtain ...Section
    l782 discovery related to litigation pending in the United K ingdom .'' ln rc 1KB D eutsche
    lndustriebankAG,20l0 W L 1526070,at*4 (    'N.D.111.Apr.8,2010);lnreEx#Jr/:Applieation
    ofGlob.A'  z?cr.
                   j'
                    .
                    yHorizonsCorp.,2015W L 1325758,at*2(N.D.Cal.M ar.24,2015)(ûû-l-hereis
    no authority suggestingtheEnglish governmentwouldbehostiletoorotherwiserejectdiscovery
    obtained through aSection 1782 subpoena.'');In reApplication ofMichaelWilson tf Partners,
    Ltd.,2007 W L 2221438,at*5 (D.Colo.July 27,2007)(allowing Section 1782 depositionsin
    connectionwithlitigationintheUnitedKingdoml;lnreLetterofRequesth'om Crtpwz?Prosecution
    Serv.ofunitedKingdom,870F.2d686,687(D.C.Cir.1989).Becausetheevidencesoughtinthis
    application likely w ould be adm itted into evidence by the English coul't and the English legal
    system isreceptive to discovery obtained in the U nited States underSection 1782,the second lnlel
    factorw eighsheavily in favorofgranting Petitioners'requested discovery.

           3.      This A pplication IsN otan A ttem ptto Circum ventEnglish Law or Policy

           The third discretionary Intel factor,w hether the applicant is attem pting to tûcircum vent
    foreign proof-gathering restrictions orotherpoliciesofa foreign country orthe United States,''is
    m eantto preclude bad faith m isuses of the process. Intel,542 U .S.at265.
                                                                             ,see also G reen Dev.
    Corp.S.A.DeC.)Cv.Zamora,2016 W L 2745844,at*3 (S.D.Fla.May 10,20l6). Petitioners'
    Application is m ade in good faith and does notattem ptto circum ventany English law orpolicy.
    lndeed,English courtshave few requirementsorfonnalitiesregarding the adm ission ofrelevant
    evidence, and the English court w ould have the pow er to order that any discovery obtained
    pursuant to this Section         A pplication m ay or m ay not be relied tlpon in the English
    Proceedings.SeeO'SullivanDecl.!24. Furthermore,thefactualcircumstancesdescribedabove
    establish Petitioners- good faith need to obtain lim ited discovel-y regardillg M r. l-ynch's

                                                    12
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    know ledge ofand participation in the sham auction ofY ukos Finance. W here,ashere,evidence
    isprobative ofthe issues i1aEnglish Proceedings,the English courtis highly likely to t'ind thatitis
    adm issible. 1d.
            M oreover, as the Suprem e Coul'
                                           t observed in lntel,ttthere is no reason to asstlm e that
    because a cotlntry has notadopted a particular discovery procedure,itw ould take offense at its
    use.''542U.S.at261(internalquotationlnarksomitted).lndeed,inlntel,theCourtrejectedthe
    argum entthatacourtshould considerquestionssuch aswhethertherequesteddiscoverywould be
    available in the foreign jurisdiction or whetherûtunited Stateslaw would allow discovery in
    dom estic litigation analogousto the foreigllproceeding.'' Id.at263,
                                                                       *see also W eber r.Finker,554
    F.3d 1379,1385(11thCir.2009)(ûtsection 1782doesnotrequirethateverydocumentdiscovered
    beactuallyusedintheforeignproceeding.'').
           H ere,the discovery Petitioners seek isconsistentwith theirgood faith desire to presenta
    case in the English Proceedings. lfthe English Proceedingsw ere required to proceed w ithoutthe
    benefit of discovery from Respondent,it w ould be a detrim ent to Claim ants' case against all
    defendants because of Respondent's centralrole as a participant in the sham auction of Yukos
    Finance and related w rongdoing. A ceordingly,the third Intelfactor also w eighs heavily in favor
    ofgranting Petititm ers'requested discovery.
            4.     The D iscovery ls N either Unduly Burdensom e Nor lntrusive

            Petitioners'discovery requestisneitherunduly burdensom e norintrusive. Petitionersseek
    a single deposition from M r.Lynch,and docum entdiscovery lim ited to those issues relevantto
    theEnglishProceedings.SeeLondonv.Does1-4,l79F.App'x513,515(9thCir.2008)(finding
    no undueburden ûtrgjiven theneed fortheevidence,and theminimalinvasion required''where
    Section l782 requestwasnarrowly tailored). Petitionersrequestdiseovery fiom Respondent
    concerning his actions related to Prom neftstroy and the Y ukos Finance auction that oceurred on
    August l5,2007. There is no question that M r.Lynch possesses know ledge and inform ation
    related to w hetherthe auction w as conducted atarm 'slength,w hich entitiesprovided the funding
     used to finance Promneftstroy's ûtw inning'' bid at the auction, and the m anagem ent of
     Prom neftstroy. A s m anaging directorof M onte-v alle,which acquired Prom neftstroy in advance
     of the sham auction- Respondent w ould have critical inform ation regarding Prom neftstroy's
     ttw inning''bid and likely would haveheld num erousconversationsand m eetingsw ith the m em bers
     ofthe Consortium .Rosnef-
                             t.and other involved in the fraudulentauction.
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            ln applying R ule45,which lim itsullduly burdensom e discovery,to a Section 1782 petition,
    ûûitmustberememberedthatjsectionl782)ismeanttobebroadlyandliberallyconstrtledinfavor
    ofpermitting discovery to take place.'' 1'1reApplication t#'Sarrio S.A..
                                                                           /i?rAssistance sç/èrc
    ForeignTribunals,l73F.R.D.l90,198(S.D.Tex.1995)(citingHickmanv.Taylor,329U.S.493
    (1947)).Astherequesteddiscoveryisneitherundulyburdensomenoroppressive,thefourthand
    finalIntelfactorlikew ise w eighsheavily in favorofgranting Petitioners'requestfordiscovery.

    E.      Ex ParteRelieflsAppropriateUnderSection 1782(a)
            AnexparteproceedingisspecificallycontemplatedandauthorizedunderSection 1782(a).
    A s an alternative to a noticed m otion,a party m ay m ove ex parte for an order directing a third
    party to produce docum entsand testify at1i
                                              tdeposition. Follow ing the entl'
                                                                              y ofthe order,the third
    pal'
       ty m ay respond orotherw iseplead. See,e.g.,In reA lianza Fiduciaria S.A.,20 l3 W L 6225179,
    at*4 (S.D.Fla.Oct.24,2013)(granting :' xparteapplication and orderingthatttgajnyobjections
    tothediscoverypenuittedhereinmustbeq   filedwiththeClerkofCourtnolaterthanfourteen(14)
    daysfrom the date ofthisOrder'r);Gushlakv.Gushlak,486 F.App'x 215,2l7 (2d Cir.20l2)
    (tû-f'
         herespondent'sdueprocessrightsarenotviolatedbecausehecanlaterchallengeanydiscovery
    requestbymovingtoquash.nn).Thethird partymayalwaysbeaffordedanopportunitytoaddress
    the discovery sought.
            A pplications pursuant to Section 1782 are frequently m ade and granted on an ex Jwr/t?
    basis,in which case notice- evento thediscovery targetitself- isprovided alterthecourthas
    already considered and ruled upon the application. A tthatpoint,the targethas an Opportunity to
    tileobjections.See,e.g.,InreBrachaFound.,20l5W L 6123204,at*1(N.D.Ala.Oct.19,2015)
    (ût-l-hedecisionsoftheEleventh CircuitCoul'
                                              tofAppealsaffirm thegranting ofj 1782 applications
    in ex parte proceedings,and other decisions outside the Circuit acknow ledge tbat the use ofcx
    partej 1782 applicationsiswidespread andthatgranting them isnotimproperbasedontheirex
    partenature.''l;Inrefrc/x
                            gz/,272.F.R.D.621,625(S.D.Fla.20l1)(tûgM jostj1782applications
       arefiled anddecided exparte.n'j;Gushlak,486Fed.App'x at217(ûûglltisneitheruncommon
    . . .


    orimproperfordistrictcourtstograntapplicationsmadepursuanttoj 1782c-ryptpr/t?.''l.
             Here,Petitionerswouldagreetoareasonablebriefing scheduleshould Respondentchoose
    to challenge the Court'sorder granting thisexparte A pplication,so long asRespondentagreesto
    returntothejtlrisdictionfordepositionorto bedeposedinsomeotherneutrallocation.
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    IV.    C O N C LUSIO N
           Based on the foregoing and accom panying paperssPetitionersrespectfully requestthattlais
    CourtgrantPetitioners'exparte Application in its entirety.


    R ESPE CTFULLY SUB M ITT ED in M iam i,Florida,on M ay 1,2017.

     GIBSON ,D LJNN & CRUTC HER LLP                 RIV ERO M ESTRE LLP
     0f CounselforDavid z1.Godjïey JFCJ ,
                                        'ukos Attorneys X r David ,4. Godjbey and Yukos
                                        br
     Finance B.lC                                   Finance B.)C
     200 Park Avenue                                2525 Ponce de Leon B oulevard,Suite 1000
     N ew Y ork,N ew York,10166                     M iam i,Florida 33134
     Telephone:(212)351-3917                        Telephone:(305)445-2500
     Fax:(212)351-5246                              Fax:(305)445-2505
     E-mail:rserio@ gibsondunn.com                  Email:imestre@riveromestre.com
                                                    Email:kblanson@ riveromestre.com

     RobertF.Serio                                  By:                  e- x>
     pro hac vice m otionpending                    Jorge A .M estre
                                                    Florida BarN o.088145
                                                    K adian Blanson
                                                    Florida BarN o.098880
